Case 1:17-cv-02374-RRM-ST Document 96-5 Filed 01/11/21 Page 1 of 7 PageID #: 863



                                                     STEVEN A. METCALF II, ESQ., Managing Attorney
                                                   NANETTE IDA METCALF, ESQ., Managing Attorney**
                                                        MARTIN TANKLEFF, ESQ., Associate Attorney
                                                        CHRISTOPHER DARDEN, ESQ., Special Counsel*
                                                                JOSEPH D.MCBRIDE, ESQ., of Counsel
                                                                    MARC HOWARD, ESQ. of Counsel




            EXHIBIT B
                            Metcalf & Metcalf, P.C.
                                 99 Park Avenue, 25th Floor
                                   New York, NY 10016
                                    646.253.0514 (Phone)
                                     646.219.2012 (Fax)
Case
 Case1:17-cv-02374-RRM-ST
      1:17-cv-02374-RRM-ST Document
                            Document96-5
                                     85 Filed
                                         Filed07/20/20
                                               01/11/21 Page
                                                         Page12ofof27PageID
                                                                      PageID#:#:796
                                                                                 864




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374
                           Plaintiff
                                                                      Request for Certificate of Default
         - against -

  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 TO: DOUGLAS C. PALMER, CLERK
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK

          Plaintiff in the above-captioned action request that defaults be entered against Defendant
 Burgis Sethna a/k/a Seth Burgess pursuant to Rule 55(a) of the Federal Rules of Civil Procedure
 for failure to timely plead or otherwise defend this action as fully appears from the court file and
 the attached declaration of Nicholas Bowers, Esq.



 Dated: Brooklyn, New York
        July 20, 2020

                                                      Respectfully Submitted,
                                                      ______/s/ ____________
                                                      Nicholas Bowers, Esq.
                                                      Gary Tsirelman P.C.
                                                      Attorneys for Plaintiff
                                                      129 Livingston St.
                                                      Brooklyn NY 11201
                                                      Email: nbowers@gtmdjd.com
Case
 Case1:17-cv-02374-RRM-ST
      1:17-cv-02374-RRM-ST Document
                            Document96-5
                                     85 Filed
                                         Filed07/20/20
                                               01/11/21 Page
                                                         Page23ofof27PageID
                                                                      PageID#:#:797
                                                                                 865
Case 1:17-cv-02374-RRM-ST Document 96-5
                                   85-1 Filed 01/11/21
                                              07/20/20 Page 4
                                                            1 of 7
                                                                 3 PageID #: 866
                                                                             798




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------X
  Capital 7 Funding,
                                                                       Docket No. 17-cv-2374
                            Plaintiff

                            - against -                                Declaration in Support of Request
                                                                       for Certificate of Default
   Wingfield Capital Corporation, Prestige Investment
   Associates, Inc., d/b/a Prestige Investments USA,
   and First Choice Payment Systems, Inc., d/b/a 1st
   Choice Payments
                        Corporate Defendants

          And

   Burgis Sethna, a/k/a Seth Burgess, Heath
   Wagenheim, Joseph Rabito, Damian Laljie a/k/a
   Damian Laltie, and John Does 1 through 15,
                       Individual Defendants

  -----------------------------------------------------------------X

                          DECLARATION OF NICHOLAS BOWERS, ESQ.

  I, Nicholas Bowers, declare under penalty of perjury that:


  1. I am an associate attorney with Gary Tsirelman, P.C., counsel to Plaintiff Capital 7 Funding in

  the above-captioned matter.


  2. I submit this declaration pursuant to Rule 55.l of the Local Civil Rules for the Eastern District

  of New York and in support of Plaintiff's request for a certificate of default against Defendant

  Burgis Sentha a/k/a Seth Burgess ("Sentha").


  3. This action seeks damages from Sentha for his conduct and direction of Defendants' fraudulent

  enterprise that defrauded Plaintiff.
Case 1:17-cv-02374-RRM-ST Document 96-5
                                   85-1 Filed 01/11/21
                                              07/20/20 Page 5
                                                            2 of 7
                                                                 3 PageID #: 867
                                                                             799




  4. Jurisdiction of this action is based upon 28 U.S.C § 1331 because Plaintiff brings its claims, in

  part, under the laws of the United States, specifically 18 U.S.C. § 1961 through 1968 (the

  Racketeer Influenced and Corrupt Organizations ("RJCO") Act). This Court has supplemental

  jurisdiction of Plaintiff's state law claims pursuant to 29 U.S.C. § 1367. This District is an

  appropriate venue pursuant to 28 U.S.C. § 1391, one or more of the Defendants resides in the

  Eastern District of New York and because this is the District where a substantial amount of the

  activities forming the basis of the Complaint occurred.


  5. The Complaint was filed on April 20, 2017. ECF No. 1. Plaintifffiled an Amended Complaint

  on May 4, 2017. ECF No. 4.


  6. Sentha retained counsel and sought an extension of his time to answer on June 28, 2017. ECF

  Nos. 17 and 18. Plaintiffsubsequently filed a Second Amended Complaint on August 31, 2017.

  ECF No. 26.


  7. Sentha requested a pre-motion conference from the Court regarding a motion to dismiss the

  Second Amended Complaint. ECF No. 27. The Court issued an order on March 22, 2019 allowing

  all Defendants to file motions to dismiss.


  8. Sentha filed a motion to dismiss the Second Amended Complaint on June 21, 2019. The Court

  denied Sentha's motion in its entirety on May 29, 2020. ECF No. 82.


  9. Pursuant to Federal Rule of Civil Procedure 12(a)(4)(A), Sentha's responsive pleading was due

  filed or served on June 15, 2020. Sentha has not filed or served any responsive pleading or appeal

  after filing the motion to dismiss. Sentha's time to respond has expired.
Case 1:17-cv-02374-RRM-ST Document 96-5
                                   85-1 Filed 01/11/21
                                              07/20/20 Page 6
                                                            3 of 7
                                                                 3 PageID #: 868
                                                                             800




  10. This action seeks judgment against Sentha for compensatory damages, punitive damages,

  treble damages, costs, and reasonable counsel fees.




  Dated: Brooklyn, New York
         July 20, 2020

                                              Respectfully Submitted,
                                                �··


                                              Nicholas Bowers, Esq.
                                              Gary Tsirelman P.C.
                                              Attorneys for Plaintiff
                                              129 Livingston St.
                                              Brooklyn NY 11201
Case 1:17-cv-02374-RRM-ST Document 96-5
                                   85-2 Filed 01/11/21
                                              07/20/20 Page 7
                                                            1 of 7
                                                                 1 PageID #: 869
                                                                             801




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374
                           Plaintiff

                       - against -                                    Certificate of Default
  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 I, Douglas Palmer, Clerk of the Court of the United States District Court for the Eastern
 District of New York, do hereby certify that Defendant Burgis Sentha a/k/a Seth Burgess has not
 filed an answer or otherwise moved with respect to the above-captioned action as fully appears
 from the court file herein and from the Declaration of Nicholas Bowers, annexed hereto. The
 default of Defendant Burgis Sentha a/k/a Seth Burgess is hereby noted pursuant to Rule 55(a) of
 the Federal Rules of Civil Procedure.



 Dated: Brooklyn, New York
 ________________, 2020
                                                                                DOUGLAS C. PALMER
                                                                                         Clerk of Court
                                                                          By: _______________________
                                                                                          Deputy Clerk
